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                                  IN THE UNITED STATES DISTRICT COURT
                                      FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                                      )
                                                               )                8:16CR23
                           Plaintiff,                          )
                                                               )
         vs.                                                   )                 ORDER
                                                               )
JASON SEWARD and                                               )
JANET HOFAKER,                                                 )
                                                               )
                           Defendants.                         )


         This matter is before the court on the motion for an extension of time by defendant Janet Hofaker
(Hofaker) (Filing No. 41). Hofaker seeks an extension of twenty-one days in which to file pretrial motions in

accordance with the progression order (Filing No. 21). Hofaker's counsel represents Hofaker will file an affidavit

wherein she consents to the motion and acknowledges she understands the additional time may be excludable

time for the purposes of the Speedy Trial Act. Upon consideration, the motion will be granted and the pretrial

motion deadline will be extended to both defendants.


         IT IS ORDERED:
         Defendant Hofaker's motion for an extension of time (Filing No. 41) is granted. Hofaker and Jason
Seward are given until on or before March 31, 2016, in which to file pretrial motions pursuant to the progression
order. The ends of justice have been served by granting such motion and outweigh the interests of the public
and the defendant in a speedy trial. The additional time arising as a result of the granting of the motion, i.e., the

time between March 8, 2016, and March 31, 2016, shall be deemed excludable time in any computation of time
under the requirement of the Speedy Trial Act for the reason defendants' counsel require additional time to
adequately prepare the case, taking into consideration due diligence of counsel, and the novelty and complexity
of this case. The failure to grant additional time might result in a miscarriage of justice. 18 U.S.C. §
3161(h)(7)(A) & (B).


         DATED this 8th day of March, 2016.
                                                               BY THE COURT:
                                                               s/ Thomas D. Thalken
                                                               United States Magistrate Judge
